        Case 15-41732    Doc 67   Filed 01/29/16   Entered 01/29/16 08:53:28   Desc Main Document   Page 1 of 10




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


 IN RE:
                                                               Case No. 15-41732
 INTERPHASE CORPORATION                                        Chapter 7

                                      Debtor

                                      AMENDED REPORT OF SALE

       COMES NOW Mark A. Weisbart, Trustee, and files this Amended Report of Sale as

follows:

       1.       Pursuant to the Order Approving Motion To Approve Sale of Assets Through

Auction Free and Clear of Liens, Claims and Encumbrances entered on October 30, 2015, the

Trustee’s duly employed auctioneer, Shattuck, LLC (“Shattuck”), conducted an online sale of

inventory from November 17, 2015 through December 1, 2015. A copy of the high bidders is

attached hereto as Exhibit “A”.

       2.       The sale brought a total of $160,568.14, including a buyer’s premium of

$8,302.47. The items sold and prices are also listed on Exhibit “A”. The Trustee has received

the gross proceeds of $152,265.67 (not including the buyer's premium).

       3.       The Order Approving Employment of Auctioneer authorized Auctioneer to

collect and retain a 10% buyer's premium on sales of estate property. Accordingly, Shattuck has

collected a total of $8,302.47 as a buyer’s premium.

       4.       The expenses connected with this sale are itemized on Exhibit “B” and will be

subject to a formal request for reimbursement in the immediate future.

            WHEREFORE, PREMISES CONSIDERED, Trustee requests that the Court accept this

Amended Report of Sale.



Amended Report of Sale                                                                                             Page 1
        Case 15-41732    Doc 67   Filed 01/29/16   Entered 01/29/16 08:53:28   Desc Main Document   Page 2 of 10




                                                        Respectfully Submitted,

                                                        /s/ Mark A. Weisbart
                                                        Mark A. Weisbart
                                                        Texas Bar No. 21102650
                                                        THE LAW OFFICE OF MARK A. WEISBART
                                                        12770 Coit Road, Suite 541
                                                        Dallas, Texas 75251
                                                        (972) 628-4903 Phone
                                                        (972) 628-4905 Fax
                                                        weisbartm@earthlink.net

                                                        COUNSEL FOR CHAPTER 7 TRUSTEE




                                       CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing instrument was served on
the below listed parties either through the Court’s electronic notification system as permitted by
Appendix 5005 III. E. to the Local Rules of the U.S. Bankruptcy Court for the Eastern District of
Texas, or by first class United States Mail, postage prepaid on this the 29th day of January, 2016.

Office of the U.S. Trustee
110 North College, Suite 300
Tyler, TX 75702
                                                        /s/ Mark A. Weisbart
                                                        Mark A. Weisbart




Amended Report of Sale                                                                                             Page 2
                                                                       Case 15-41732        Doc 67     Filed 01/29/16   Entered 01/29/16 08:53:28     Desc Main Document               Page 3 of 10



Interphase Corporation
c/o Mark Weisbart, Trustee
4240 International Pkwy Suite 105
Carrollton, Texas 75007


Bankruptcy Auction Report Case No. 15-41732
Item ID           Invoice   Lot #   Title                                                           Price     Comm.        Net          BP           Total               High Bidder             H.B. Phone             H.B. Email
          98768   37787     L3981 (1) LeCroy Wavemaster 8500A 5GHz Oscilloscope                   $7,850.00    $0.00    $7,850.00    $785.00    $9,347.39     Tiann Bagwell

                                                                                                                                                                           [Blueeyes381]        (915)202-5997 Tiann381@gmail.com
          98769   37788     L3982 (1) HP Spectrum Analyzer 8590B Oscilloscope                     $511.00      $0.00     $511.00       $51.10       $562.10   Chester Bruington

                                                                                                                                                                               [texas409]       (210)381-7451 ccbru@texas.net
          98770   37789     L3983 (1) BK Precision Programmable DC Power Supply                   $102.99      $0.00     $102.99       $10.30       $113.29   David Moore

                                                                                                                                                                         [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98771   37789     L3984 (1) BK Precision High Current DC Regulated Power Supply         $115.00      $0.00     $115.00       $11.50       $126.50   David Moore

                                                                                                                                                                         [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98772   37790     L3985 (1) HP 1661A Logic Analyzer                                      $80.00      $0.00     $80.00        $8.00        $95.26    william hanks

                                                                                                                                                                           [will62]             (214)449-5967 glennh.2011@yahoo.com
          98773   37791     L3986 (1) Tektronix Digital Phosphor Oscilloscope                     $1,684.99    $0.00    $1,684.99    $168.50    $1,853.49     Will Rutledge

                                                                                                                                                                           [wksales]            (210)263-7548 wksales.sa@gmail.com
          98774   37790     L3987 (1) Tektronix 4-Channel Digital Phosphor Oscilloscope           $824.00      $0.00     $824.00       $82.40       $981.18   william hanks

                                                                                                                                                                           [will62]             (214)449-5967 glennh.2011@yahoo.com
          98775   37791     L3988 Electronic Testing Equipment                                    $260.00      $0.00     $260.00       $26.00       $286.00   Will Rutledge

                                                                                                                                                                           [wksales]            (210)263-7548 wksales.sa@gmail.com
          98776   37790     L3989 (1) Tektronix P6042 Current Probe                               $186.00      $0.00     $186.00       $18.60       $221.48   william hanks

                                                                                                                                                                           [will62]             (214)449-5967 glennh.2011@yahoo.com
          98777   37792     L3990 (3) Fluke Multimeters                                           $170.00      $0.00     $170.00       $17.00       $202.43   Francis Medard

                                                                                                                                                                            [netpet]            (832)692-9278 fnmedard@yahoo.com
          98778   37793     L3991 (1) Quantum Data HDMI Handheld Test Instrument                  $487.00      $0.00     $487.00       $48.70       $535.70   Fela Olawale

                                                                                                                                                                          [1331]                (832)640-6493 wazobia.ent@gmail.com
          98779   37794     L3992 (1) Fluke Hydra 2620 Data Acquisition Unit                      $112.00      $0.00     $112.00       $11.20       $133.36   Matthew Kemp

                                                                                                                                                                          [indigo2511]          (469)337-6350 mkemp51552@att.net
          98780   37791     L3993 (1) BK Precision Programmable DC Power Supply                   $107.00      $0.00     $107.00       $10.70       $117.70   Will Rutledge

                                                                                                                                                                           [wksales]            (210)263-7548 wksales.sa@gmail.com
          98781   37795     L3994 (1) HP Communciations Performance Analyzer                       $30.00      $0.00     $30.00        $3.00        $35.72    michael vaughan

                                                                                                                                                                             [blockmaker]       (214)202-0708 blockmakeroo@gmail.com
          98782   37796     L3995 (3) Texas Instruments MSP-Gang Programmers                      $131.66      $0.00     $131.66       $13.17       $156.77   Darren Melton

                                                                                                                                                                           [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98783   37797     L3996 (1) Cen-Tech 5-In-1 Portable Power Pack                          $74.95      $0.00     $74.95        $7.50        $89.25    Wayne McNeil

                                                                                                                                                                          [waynemcneil]         (817)540-5556 genxcomics@hotmail.com
          98784   37797     L3997 (1) Husky EZ-Air-To-Go Compressor                                $40.10      $0.00     $40.10        $4.01        $47.75    Wayne McNeil

                                                                                                                                                                          [waynemcneil]         (817)540-5556 genxcomics@hotmail.com
          98785   37798     L3998 (1) LeCroy 9361 Dual 300MH Oscilloscope                         $167.00      $0.00     $167.00       $16.70       $198.86   David Taylor

                                                                                                                                                                          [davidwtaylor]        (972)699-8470 davidtaylor314@gmail.com
          98786   37796     L3999 Fotec Fiber Optic Test Equipment                                 $39.49      $0.00     $39.49        $3.95        $47.02    Darren Melton

                                                                                                                                                                           [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98787   37798     L4000 (1) Tektronix TDS 360 Two-Channel Digital Real-Time Oscillosc   $121.00      $0.00     $121.00       $12.10       $144.08   David Taylor

                                                                                                                                                                          [davidwtaylor]        (972)699-8470 davidtaylor314@gmail.com
          98788   37791     L4001 (2) Electronic Testers                                           $39.38      $0.00     $39.38        $3.94        $43.32    Will Rutledge

                                                                                                                                                                           [wksales]            (210)263-7548 wksales.sa@gmail.com
          98789   37791     L4002 (1) Trend Aurora Forte ATN Simulation Network Tester            $165.00      $0.00     $165.00       $16.50       $181.50   Will Rutledge

                                                                                                                                                                           [wksales]            (210)263-7548 wksales.sa@gmail.com
          98790   37799     L4003 Kitchen Appliances                                              $205.00      $0.00     $205.00       $20.50       $244.10   Brian Beard

                                                                                                                                                                         [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98791   37794     L4004 (9) Coffee Dispensers                                            $96.50      $0.00     $96.50        $9.65        $114.91   Matthew Kemp

                                                                                                                                                                          [indigo2511]          (469)337-6350 mkemp51552@att.net
          98792   37800     L4005 (1) True GDM-23 Beverage Refrigerator                           $685.00      $0.00     $685.00       $68.50       $815.66   Larry Johnson

                                                                                                                                                                           [Jack10January11]    (469)767-0740 samplesodlj@yahoo.com
          98793   37800     L4006 (3) Folding Tables & (12) Lifetime Chairs                       $285.00      $0.00     $285.00       $28.50       $339.36   Larry Johnson

                                                                                                                                                                           [Jack10January11]    (469)767-0740 samplesodlj@yahoo.com
          98794   37801     L4007 (1) Manitowoc QM45 Ice Maker                                    $485.00      $0.00     $485.00       $48.50       $577.51   Heather Lakins

                                                                                                                                                                            [Damavand15]        (214)920-9899 Tonyragu15@gmail.com
          98795   37802     L4008 Misc Kitchen Accessories                                        $105.00      $0.00     $105.00       $10.50       $115.50   Shiraz Badruddin

                                                                                                                                                                              [samcomp]         (469)360-6729 shirazbadruddin@hotmail.com
          98796   37803     L4009 Christmas Decorations                                            $42.50      $0.00     $42.50        $4.25        $46.75    Shirley Shaddock

                                                                                                                                                                              [whcclinic]       (903)729-3015 whcclinic@yahoo.com
          98797   37803     L4010 (3) Trash Bins                                                   $42.50      $0.00     $42.50        $4.25        $46.75    Shirley Shaddock

                                                                                                                                                                              [whcclinic]       (903)729-3015 whcclinic@yahoo.com
          98798   37804     L4011 Large Lot of Assorted Toner/Ink Cartridges                      $970.00      $0.00     $970.00       $97.00   $1,155.03     michael friesenhahn

                                                                                                                                                                                 [freez-25]     (210)378-1999 uc_mailingcenter25@yahoo.com
          98799   37805     L4012 (1) Mitsubishi Projector                                        $215.00      $0.00     $215.00       $21.50       $256.01   Mark Turner

                                                                                                                                                                         [mpturner21]           (469)667-8447 mark@gotoitguy.net
          98800   37799     L4013 Approx (60) Misc Chairs                                         $210.01      $0.00     $210.01       $21.00       $250.07   Brian Beard

                                                                                                                                                                         [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98801   37806     L4014 (2) Rolling Tables                                               $80.00      $0.00     $80.00        $8.00        $95.26    Mark Stokes

                                                                                                                                                                         [stokesbh]             (210)370-2229 mark.stokes@bowhead.com
          98802   37807     L4015 (2) Rolling Tables                                               $65.25      $0.00     $65.25        $6.53        $77.70    A. C. Campbell

                                                                                                                                                                            [bluebell]          (281)509-3057 janiebug835@sbcglobal.net
          98803   37807     L4016 (2) Rolling Tables                                               $65.25      $0.00     $65.25        $6.53        $77.70    A. C. Campbell

                                                                                                                                                                            [bluebell]          (281)509-3057 janiebug835@sbcglobal.net
          98804   37808     L4017 (2) Rolling Tables                                               $65.00      $0.00     $65.00        $6.50        $71.50    FRANK SAPORITO

                                                                                                                                                                            [fritomd]           (214)924-2787 frank.saporito.md@gmail.com
          98805   37809     L4018 (5) Expo Logistics Exhibitor Marketing Displays                 $330.00      $0.00     $330.00       $33.00       $363.00   Ivan Hernandez

                                                                                                                                                                            [dr.ivanhernandez] (811)555-5675 dr.ivanhernandez@gmail.com
          98806   37810     L4019 (1) Ben-Q Projector w/Da-Lite Screen                            $250.00      $0.00     $250.00       $25.00       $275.00   Scott Beene

                                                                                                                                                                         [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org




                                                                                                                         Exhibit "A"
Item ID           Invoice   Lot #   Title                                                           Price     Comm.        Net          BP           Total               High Bidder             H.B. Phone              H.B. Email
                                                                        Case 15-41732         Doc 67   Filed 01/29/16   Entered 01/29/16 08:53:28     Desc Main Document              Page 4 of 10
          98807   37799     L4020 (18) Framed Prints                                               $60.00      $0.00     $60.00        $6.00        $71.45    Brian Beard

                                                                                                                                                                         [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98808   37806     L4021 (1) Sofa/Entryway Table                                          $167.50     $0.00     $167.50       $16.75       $199.45   Mark Stokes

                                                                                                                                                                         [stokesbh]             (210)370-2229 mark.stokes@bowhead.com
          98809   37789     L4022 Misc Furniture                                                   $265.55     $0.00     $265.55       $26.56       $292.11   David Moore

                                                                                                                                                                         [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98810   37803     L4023 Approx (20) Assorted Artificial Plants                           $42.50      $0.00     $42.50        $4.25        $46.75    Shirley Shaddock

                                                                                                                                                                              [whcclinic]       (903)729-3015 whcclinic@yahoo.com
          98811   37789     L4024 (1) Framed Interphase Sign Sign                                  $30.00      $0.00     $30.00        $3.00        $33.00    David Moore

                                                                                                                                                                         [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98812   37811     L4025 Executive Suite of Furniture & Contents of Room                  $655.50     $0.00     $655.50       $65.55       $780.54   Christine Giese

                                                                                                                                                                             [Chris0531]        (979)830-5252 christine@bencor-llc.com
          98813   37812     L4026 Office Furniture                                                 $400.00     $0.00     $400.00       $40.00       $440.00   Joseph Kwiatkowski

                                                                                                                                                                                [kwiatkowski]   (936)639-2114 josephkwiatkowski@yahoo.com
          98814   37813     L4027 Approx (22) Assorted Leather Folios                              $30.00      $0.00     $30.00        $3.00        $35.72    Jave Blackburn

                                                                                                                                                                            [javes1]            (469)571-8263 javoliver1@gmail.com
          98815   37814     L4028 (4) Chairs                                                       $236.00     $0.00     $236.00       $23.60       $281.02   Rick Miller

                                                                                                                                                                         [ss6290]               (817)279-2100 muleride@yahoo.com
          98816   37812     L4029 Executive Suite of Furniture & Contents of Room                  $620.00     $0.00     $620.00       $62.00       $682.00   Joseph Kwiatkowski

                                                                                                                                                                                [kwiatkowski]   (936)639-2114 josephkwiatkowski@yahoo.com
          98817   37812     L4030 Executive Suite of Furniture & Contents of Room                  $510.00     $0.00     $510.00       $51.00       $561.00   Joseph Kwiatkowski

                                                                                                                                                                                [kwiatkowski]   (936)639-2114 josephkwiatkowski@yahoo.com
          98819   37815     L4032 (1) Sofa/Entryway Table                                          $173.00     $0.00     $173.00       $17.30       $190.30   Richard Palmer

                                                                                                                                                                            [Palmer503]         (903)566-2311.1palmerr@chapelhillisd.org
          98820   37816     L4033 (4) Lazy Boy Rolling Office Chairs                               $340.00     $0.00     $340.00       $34.00       $404.86   Ken Connolly

                                                                                                                                                                          [Kenconnolly]         (214)906-3824 Kenconnolly1@me.Com
          98821   37814     L4034 (4) Lazy Boy Rolling Office Chairs                               $351.00     $0.00     $351.00       $35.10       $417.95   Rick Miller

                                                                                                                                                                         [ss6290]               (817)279-2100 muleride@yahoo.com
          98822   37812     L4035 (4) Lazy Boy Rolling Office Chairs                               $250.00     $0.00     $250.00       $25.00       $275.00   Joseph Kwiatkowski

                                                                                                                                                                                [kwiatkowski]   (936)639-2114 josephkwiatkowski@yahoo.com
          98823   37812     L4036 (4) Lazy Boy Rolling Office Chairs                               $225.00     $0.00     $225.00       $22.50       $247.50   Joseph Kwiatkowski

                                                                                                                                                                                [kwiatkowski]   (936)639-2114 josephkwiatkowski@yahoo.com
          98824   37817     L4037 (12) Misc Wall Clocks                                            $42.50      $0.00     $42.50        $4.25        $50.61    Martha Michael

                                                                                                                                                                            [Mikona]            (214)402-6437 Mikona74@yahoo.com
          98825   37805     L4038 (1) Ben-Q Projector                                              $145.00     $0.00     $145.00       $14.50       $172.66   Mark Turner

                                                                                                                                                                         [mpturner21]           (469)667-8447 mark@gotoitguy.net
          98826   37812     L4039 Executive Suite of Furniture & Contents of Room                  $601.00     $0.00     $601.00       $60.10       $661.10   Joseph Kwiatkowski

                                                                                                                                                                                [kwiatkowski]   (936)639-2114 josephkwiatkowski@yahoo.com
          98827   37818     L4040 Executive Suite of Furniture & Contents of Room                  $310.00     $0.00     $310.00       $31.00       $369.13   Bryan Parr

                                                                                                                                                                        [bdpbuca]               (806)441-4950 bdpbuca@gmail.com
          98828   37818     L4041 Executive Suite of Furniture & Contents of Room                  $500.00     $0.00     $500.00       $50.00       $595.38   Bryan Parr

                                                                                                                                                                        [bdpbuca]               (806)441-4950 bdpbuca@gmail.com
          98829   37814     L4042 Executive Suite of Furniture & Contents of Room                  $299.50     $0.00     $299.50       $29.95       $356.63   Rick Miller

                                                                                                                                                                         [ss6290]               (817)279-2100 muleride@yahoo.com
          98830   37799     L4043 (2) Executive Suites of Furniture & Contents of (2) Rooms        $170.00     $0.00     $170.00       $17.00       $202.43   Brian Beard

                                                                                                                                                                         [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98831   37819     L4044 Executive Suite of Furniture & Contents of Room                  $365.55     $0.00     $365.55       $36.56       $435.28   Sanjay Naik

                                                                                                                                                                         [snaik]                (214)596-1500.2sanjay@eurekatextiles.com
          98832   37810     L4045 (4) Rolling Office Chairs                                        $182.77     $0.00     $182.77       $18.28       $201.05   Scott Beene

                                                                                                                                                                         [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          98833   37810     L4046 (4) Rolling Office Chairs                                        $171.66     $0.00     $171.66       $17.17       $188.83   Scott Beene

                                                                                                                                                                         [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          98834   37796     L4047 (4) Rolling Office Chairs                                        $127.00     $0.00     $127.00       $12.70       $151.23   Darren Melton

                                                                                                                                                                           [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98835   37799     L4048 (1) 14' Conference Table                                         $155.00     $0.00     $155.00       $15.50       $184.57   Brian Beard

                                                                                                                                                                         [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98836   37820     L4049 (1) Vizio 55" LCD Television                                     $355.00     $0.00     $355.00       $35.50       $422.72   Jeremy Marrero

                                                                                                                                                                            [jmarrero24]        (972)914-8771 jmarrero24@yahoo.com
          98837   37821     L4050 Very Large Lot of Steelcase Modular Office Partitions            $360.00     $0.00     $360.00       $36.00       $396.00   Mike Kariuki

                                                                                                                                                                          [SoG]                 (302)345-3738 mikemaigua@gmail.com
          98838   37822     L4051 (6) Chrome Craft Upholstered Chairs                              $52.50      $0.00     $52.50        $5.25        $62.51    Stephen Seigler

                                                                                                                                                                             [stephenseigler]   (817)391-2229 seigler.stephen@gmail.com
          98839   37814     L4052 (10) Upholstered Stackable Chairs                                $117.55     $0.00     $117.55       $11.76       $139.97   Rick Miller

                                                                                                                                                                         [ss6290]               (817)279-2100 muleride@yahoo.com
          98840   37799     L4053 Office Furniture & Contents of (3) Rooms                         $125.00     $0.00     $125.00       $12.50       $148.84   Brian Beard

                                                                                                                                                                         [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98841   37819     L4054 (3) Rooms of Office Furniture & Contents                         $375.00     $0.00     $375.00       $37.50       $446.53   Sanjay Naik

                                                                                                                                                                         [snaik]                (214)596-1500.2sanjay@eurekatextiles.com
          98842   37803     L4055 Very Large Office Supply Lot                                     $205.00     $0.00     $205.00       $20.50       $225.50   Shirley Shaddock

                                                                                                                                                                              [whcclinic]       (903)729-3015 whcclinic@yahoo.com
          98843   37814     L4056 (1) Round Table w/Glass Top                                      $185.00     $0.00     $185.00       $18.50       $220.29   Rick Miller

                                                                                                                                                                         [ss6290]               (817)279-2100 muleride@yahoo.com
          98844   37799     L4057 (55) Rolling Office Chairs                                       $105.01     $0.00     $105.01       $10.50       $125.04   Brian Beard

                                                                                                                                                                         [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98845   37799     L4058 Executive Suite of Furniture & Contents of Room                  $105.00     $0.00     $105.00       $10.50       $125.03   Brian Beard

                                                                                                                                                                         [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98846   37823     L4059 (5) Rolling Office Chairs                                        $214.50     $0.00     $214.50       $21.45       $255.42   Mike Rodemers

                                                                                                                                                                           [gudrunc]            (972)679-9780 pmrodemers@aol.com
          98847   37799     L4060 (5) Rolling Office Chairs                                        $156.99     $0.00     $156.99       $15.70       $186.94   Brian Beard

                                                                                                                                                                         [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98848   37824     L4061 (1) 8' Conference Table                                          $211.00     $0.00     $211.00       $21.10       $251.25   daniel khammash

                                                                                                                                                                             [dak_electronics] (817)637-4824 dak_electronics@yahoo.com
          98850   37811     L4063 Office Furniture & Contents of (1) Room                          $425.00     $0.00     $425.00       $42.50       $506.07   Christine Giese

                                                                                                                                                                             [Chris0531]        (979)830-5252 christine@bencor-llc.com
          98851   37811     L4065 (1) Workstation                                                  $140.00     $0.00     $140.00       $14.00       $166.71   Christine Giese

                                                                                                                                                                             [Chris0531]        (979)830-5252 christine@bencor-llc.com
          98852   37811     L4066 (1) Workstation                                                  $142.00     $0.00     $142.00       $14.20       $169.09   Christine Giese

                                                                                                                                                                             [Chris0531]        (979)830-5252 christine@bencor-llc.com
          98853   37811     L4067 (1) Workstation                                                  $140.00     $0.00     $140.00       $14.00       $166.71   Christine Giese

                                                                                                                                                                             [Chris0531]        (979)830-5252 christine@bencor-llc.com
          98854   37825     L4068 (1) Workstation                                                  $167.50     $0.00     $167.50       $16.75       $199.45   Moe Knight

                                                                                                                                                                        [mrknight3]             (903)893-0144.2mknight@hoytedodge.com
          98855   37825     L4069 (1) Workstation                                                  $169.50     $0.00     $169.50       $16.95       $201.83   Moe Knight

                                                                                                                                                                        [mrknight3]             (903)893-0144.2mknight@hoytedodge.com
          98856   37808     L4070 Misc Furniture                                                   $215.00     $0.00     $215.00       $21.50       $236.50   FRANK SAPORITO

                                                                                                                                                                            [fritomd]           (214)924-2787 frank.saporito.md@gmail.com
          98857   37796     L4071 (2) Ergotron Workstations                                        $222.00     $0.00     $222.00       $22.20       $264.35   Darren Melton

                                                                                                                                                                           [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98858   37826     L4072 (1) Rolling Ergotron Workstation                                 $180.00     $0.00     $180.00       $18.00       $198.00   Ramon Rodriguez

                                                                                                                                                                             [rrlastre]         (222)219-5096 rrlastre@gmail.com
          98859   37826     L4073 (1) Rolling Ergotron Workstation                                 $180.00     $0.00     $180.00       $18.00       $198.00   Ramon Rodriguez

                                                                                                                                                                             [rrlastre]         (222)219-5096 rrlastre@gmail.com



                                                                                                                         Exhibit "A"
Item ID           Invoice   Lot #   Title                                                       Price     Comm.        Net          BP           Total               High Bidder             H.B. Phone             H.B. Email
                                                                       Case 15-41732      Doc 67   Filed 01/29/16   Entered 01/29/16 08:53:28     Desc Main Document               Page 5 of 10
          98860   37789     L4074 (1) Rolling Ergotron Workstation                             $200.00     $0.00     $200.00       $20.00       $220.00   David Moore

                                                                                                                                                                     [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98861   37826     L4075 (1) Rolling Ergotron Workstation                             $176.77     $0.00     $176.77       $17.68       $194.45   Ramon Rodriguez

                                                                                                                                                                         [rrlastre]         (222)219-5096 rrlastre@gmail.com
          98862   37806     L4076 (1) Rolling Ergotron Workstation                             $170.00     $0.00     $170.00       $17.00       $202.43   Mark Stokes

                                                                                                                                                                     [stokesbh]             (210)370-2229 mark.stokes@bowhead.com
          98863   37806     L4077 (1) Rolling Ergotron Workstation                             $181.00     $0.00     $181.00       $18.10       $215.53   Mark Stokes

                                                                                                                                                                     [stokesbh]             (210)370-2229 mark.stokes@bowhead.com
          98864   37806     L4078 (1) Rolling Ergotron Workstation                             $185.00     $0.00     $185.00       $18.50       $220.29   Mark Stokes

                                                                                                                                                                     [stokesbh]             (210)370-2229 mark.stokes@bowhead.com
          98865   37806     L4079 (1) Rolling Ergotron Workstation                             $175.00     $0.00     $175.00       $17.50       $208.38   Mark Stokes

                                                                                                                                                                     [stokesbh]             (210)370-2229 mark.stokes@bowhead.com
          98866   37796     L4080 (1) Rolling Ergotron Workstation                             $55.55      $0.00     $55.55        $5.56        $66.15    Darren Melton

                                                                                                                                                                       [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98867   37796     L4081 (1) Rolling Ergotron Workstation                             $72.00      $0.00     $72.00        $7.20        $85.73    Darren Melton

                                                                                                                                                                       [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98868   37796     L4082 (1) Rolling Ergotron Workstation                             $185.00     $0.00     $185.00       $18.50       $220.29   Darren Melton

                                                                                                                                                                       [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98869   37796     L4083 (1) Rolling Ergotron Workstation                             $181.00     $0.00     $181.00       $18.10       $215.53   Darren Melton

                                                                                                                                                                       [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98870   37826     L4084 (1) Rolling Ergotron Workstation                             $185.00     $0.00     $185.00       $18.50       $203.50   Ramon Rodriguez

                                                                                                                                                                         [rrlastre]         (222)219-5096 rrlastre@gmail.com
          98872   37789     L4086 (1) Rolling Ergotron Workstation                             $205.00     $0.00     $205.00       $20.50       $225.50   David Moore

                                                                                                                                                                     [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98873   37803     L4087 (1) Loche Wall-Mounted Projector Screen                      $30.00      $0.00     $30.00        $3.00        $33.00    Shirley Shaddock

                                                                                                                                                                          [whcclinic]       (903)729-3015 whcclinic@yahoo.com
          98874   37789     L4088 (1) Hardware Cabinet                                         $345.00     $0.00     $345.00       $34.50       $379.50   David Moore

                                                                                                                                                                     [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98876   37825     L4090 (2) L-Shaped Laminate Desks                                  $395.55     $0.00     $395.55       $39.56       $471.00   Moe Knight

                                                                                                                                                                    [mrknight3]             (903)893-0144.2mknight@hoytedodge.com
          98877   37828     L4091 Assorted Office Furniture                                    $177.56     $0.00     $177.56       $17.76       $211.43   Allen Goodrich

                                                                                                                                                                        [Texasallen]        (214)789-6512 allensgotjunk@yahoo.com
          98878   37825     L4092 (7) Lateral File Cabinets                                    $755.00     $0.00     $755.00       $75.50       $899.02   Moe Knight

                                                                                                                                                                    [mrknight3]             (903)893-0144.2mknight@hoytedodge.com
          98879   37821     L4093 Very Large Lot of Steelcase Modular Office Partitions        $810.00     $0.00     $810.00       $81.00       $891.00   Mike Kariuki

                                                                                                                                                                      [SoG]                 (302)345-3738 mikemaigua@gmail.com
          98880   37795     L4094 (1) MakerBot Replicator 2X Experimental 3D Printer          $1,275.00    $0.00    $1,275.00    $127.50    $1,518.21     michael vaughan

                                                                                                                                                                         [blockmaker]       (214)202-0708 blockmakeroo@gmail.com
          98881   37811     L4095 (6) Metro Style Racks                                        $372.50     $0.00     $372.50       $37.25       $443.55   Christine Giese

                                                                                                                                                                         [Chris0531]        (979)830-5252 christine@bencor-llc.com
          98882   37799     L4096 (32) Rolling Office Chairs                                   $162.00     $0.00     $162.00       $16.20       $192.90   Brian Beard

                                                                                                                                                                     [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98883   37799     L4097 (21) Misc Chairs                                             $112.50     $0.00     $112.50       $11.25       $133.96   Brian Beard

                                                                                                                                                                     [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98884   37791     L4098 Misc Electronic Testing Equipment                           $1,125.00    $0.00    $1,125.00    $112.50    $1,237.50     Will Rutledge

                                                                                                                                                                       [wksales]            (210)263-7548 wksales.sa@gmail.com
          98885   37814     L4099 (6) Misc Shredders                                           $85.00      $0.00     $85.00        $8.50        $101.21   Rick Miller

                                                                                                                                                                     [ss6290]               (817)279-2100 muleride@yahoo.com
          98886   37829     L4100 Approx (3800) Segue VGA Cables                               $270.00     $0.00     $270.00       $27.00       $297.00   Martin Vaz

                                                                                                                                                                    [ronaldo]               (972)997-6539 martinvazquez.c@hotmail.com
          98887   37829     L4101 Approx (4300) Segue VGA Cables                               $310.00     $0.00     $310.00       $31.00       $341.00   Martin Vaz

                                                                                                                                                                    [ronaldo]               (972)997-6539 martinvazquez.c@hotmail.com
          98888   37789     L4102 Very Large E-Scrap Lot                                       $811.00     $0.00     $811.00       $81.10       $892.10   David Moore

                                                                                                                                                                     [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98889   37830     L4103 (1) Golf Guard Travel Locking Hard Case                      $30.00      $0.00     $30.00        $3.00        $35.72    brian beaird

                                                                                                                                                                      [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98890   37831     L4104 (7) Stacking Chairs                                          $90.00      $0.00     $90.00        $9.00        $99.00    Isaac Eweni

                                                                                                                                                                     [Zik2013]              (903)312-7260 iceholdingse@yahoo.com
          98891   37800     L4105 (1) Steel Table                                              $85.00      $0.00     $85.00        $8.50        $101.21   Larry Johnson

                                                                                                                                                                       [Jack10January11]    (469)767-0740 samplesodlj@yahoo.com
          98892   37832     L4106 Approx (60) Power Strips                                     $88.56      $0.00     $88.56        $8.86        $97.42    Leonard Olele

                                                                                                                                                                       [aza57]              (469)951-7601 txme@eurovolt.com
          98893   37812     L4107 Approx (50)+ Trash Bins                                      $120.00     $0.00     $120.00       $12.00       $132.00   Joseph Kwiatkowski

                                                                                                                                                                            [kwiatkowski]   (936)639-2114 josephkwiatkowski@yahoo.com
          98894   37833     L4108 (22) Misc Printers                                           $310.00     $0.00     $310.00       $31.00       $369.13   TINH TIEU

                                                                                                                                                                   [tinhtieu55]             (214)564-3862 tinhtieu55@yahoo.com
          98895   37834     L4109 (13) Misc Printers                                           $155.00     $0.00     $155.00       $15.50       $184.57   Carlos Villalobos

                                                                                                                                                                           [cbvilla6]       (469)766-4870 cbvilla6@hotmail.com
          98896   37808     L4110 (1) HP Colorsphere Color Laserjet 4700N Printer              $205.00     $0.00     $205.00       $20.50       $225.50   FRANK SAPORITO

                                                                                                                                                                        [fritomd]           (214)924-2787 frank.saporito.md@gmail.com
          98897   37819     L4111 (1) HP Colorsphere Color Laserjet 4700N Printer              $155.00     $0.00     $155.00       $15.50       $184.57   Sanjay Naik

                                                                                                                                                                     [snaik]                (214)596-1500.2sanjay@eurekatextiles.com
          98898   37825     L4112 (8) Long Power Strips                                        $120.99     $0.00     $120.99       $12.10       $144.07   Moe Knight

                                                                                                                                                                    [mrknight3]             (903)893-0144.2mknight@hoytedodge.com
          98899   37796     L4113 (2) Upright Metal Cabinets & (3) File Cabinets               $125.00     $0.00     $125.00       $12.50       $148.84   Darren Melton

                                                                                                                                                                       [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98900   37810     L4114 Ladders & Stepstools                                         $125.00     $0.00     $125.00       $12.50       $137.50   Scott Beene

                                                                                                                                                                     [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          98901   37819     L4115 (1) Keller 8' Fiberglass Ladder                              $80.42      $0.00     $80.42        $8.04        $95.76    Sanjay Naik

                                                                                                                                                                     [snaik]                (214)596-1500.2sanjay@eurekatextiles.com
          98902   37810     L4116 Misc Janitorial Equipment                                    $59.35      $0.00     $59.35        $5.94        $65.29    Scott Beene

                                                                                                                                                                     [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          98903   37819     L4117 (5) Projector Tripod Stands                                  $145.00     $0.00     $145.00       $14.50       $172.66   Sanjay Naik

                                                                                                                                                                     [snaik]                (214)596-1500.2sanjay@eurekatextiles.com
          98904   37792     L4118 (1) Sony LCD Projector                                       $49.50      $0.00     $49.50        $4.95        $58.94    Francis Medard

                                                                                                                                                                        [netpet]            (832)692-9278 fnmedard@yahoo.com
          98905   37805     L4119 (1) Mitsubishi Projector                                     $104.00     $0.00     $104.00       $10.40       $123.84   Mark Turner

                                                                                                                                                                     [mpturner21]           (469)667-8447 mark@gotoitguy.net
          98906   37830     L4120 (1) Epson Projector                                          $71.00      $0.00     $71.00        $7.10        $84.54    brian beaird

                                                                                                                                                                      [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98907   37820     L4121 (1) Dell Projector                                           $42.50      $0.00     $42.50        $4.25        $50.61    Jeremy Marrero

                                                                                                                                                                        [jmarrero24]        (972)914-8771 jmarrero24@yahoo.com
          98908   37820     L4122 (1) Epson Projector                                          $37.50      $0.00     $37.50        $3.75        $44.65    Jeremy Marrero

                                                                                                                                                                        [jmarrero24]        (972)914-8771 jmarrero24@yahoo.com
          98909   37805     L4123 (1) Ben-Q Projector                                          $60.00      $0.00     $60.00        $6.00        $71.45    Mark Turner

                                                                                                                                                                     [mpturner21]           (469)667-8447 mark@gotoitguy.net
          98910   37820     L4124 (1) 3M Projector                                             $32.50      $0.00     $32.50        $3.25        $38.70    Jeremy Marrero

                                                                                                                                                                        [jmarrero24]        (972)914-8771 jmarrero24@yahoo.com
          98911   37835     L4125 (1) InFocus Projector                                        $75.00      $0.00      $75.00       $7.50        $89.31    Noheon Park

                                                                                                                                                                     [noheonpark]           (469)238-9437 noheonpark@gmail.com
          98912   37820     L4126 (1) Dell Projector                                           $52.50      $0.00      $52.50       $5.25        $62.51    Jeremy Marrero

                                                                                                                                                                        [jmarrero24]        (972)914-8771 jmarrero24@yahoo.com



                                                                                                                     Exhibit "A"
Item ID           Invoice   Lot #   Title                                                    Price     Comm.        Net          BP           Total                High Bidder            H.B. Phone             H.B. Email
                                                                       Case 15-41732   Doc 67   Filed 01/29/16   Entered 01/29/16 08:53:28     Desc Main Document              Page 6 of 10
          98913   37820     L4127 (1) Plus Projector                                        $30.00      $0.00     $30.00        $3.00        $35.72    Jeremy Marrero

                                                                                                                                                                     [jmarrero24]        (972)914-8771 jmarrero24@yahoo.com
          98914   37796     L4128 Misc Cameras & Cell Phones                                $105.00     $0.00     $105.00       $10.50       $125.03   Darren Melton

                                                                                                                                                                    [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98915   37836     L4129 (25) IBM Thinkpad Computer Docking Stations               $30.00      $0.00     $30.00        $3.00        $35.72    KEITH STEPHENSON

                                                                                                                                                                       [acqltd]          (817)457-9050 sales@acqltd.com
          98916   37837     L4130 (34) Computer LCD Monitors                                $185.00     $0.00     $185.00       $18.50       $203.50   Henry Quispe

                                                                                                                                                                   [charango]            (214)756-0032 Rockyscomputer@hotmail.com
          98917   37837     L4131 (27) Computer LCD Monitors                                $105.11     $0.00     $105.11       $10.51       $115.62   Henry Quispe

                                                                                                                                                                   [charango]            (214)756-0032 Rockyscomputer@hotmail.com
          98918   37837     L4132 (32) Computer LCD Monitors                                $115.00     $0.00     $115.00       $11.50       $126.50   Henry Quispe

                                                                                                                                                                   [charango]            (214)756-0032 Rockyscomputer@hotmail.com
          98919   37789     L4133 (27) Computer LCD Monitors                                $360.00     $0.00     $360.00       $36.00       $396.00   David Moore

                                                                                                                                                                  [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98920   37812     L4134 (5) Aluminum Trash Bins                                   $42.50      $0.00     $42.50        $4.25        $46.75    Joseph Kwiatkowski

                                                                                                                                                                         [kwiatkowski]   (936)639-2114 josephkwiatkowski@yahoo.com
          98921   37838     L4135 Computer Peripherals                                      $32.50      $0.00     $32.50        $3.25        $38.70    DESMOND EZE

                                                                                                                                                                  [GODISINCHARG (281)662-0753 desibros61@yahoo.com
          98922   37796     L4136 Misc Networking Equipment                                 $80.00      $0.00     $80.00        $8.00        $95.26    Darren Melton

                                                                                                                                                                    [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98923   37833     L4137 (65) Power Strips                                         $90.00      $0.00     $90.00        $9.00        $107.17   TINH TIEU

                                                                                                                                                                [tinhtieu55]             (214)564-3862 tinhtieu55@yahoo.com
          98924   37796     L4138 Room Contents                                             $301.11     $0.00     $301.11       $30.11       $358.55   Darren Melton

                                                                                                                                                                    [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98925   37796     L4139 (3) Rooms of Office Furniture & Contents                  $345.55     $0.00     $345.55       $34.56       $411.46   Darren Melton

                                                                                                                                                                    [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98926   37789     L4140 Misc Label Printers                                       $52.50      $0.00     $52.50        $5.25        $57.75    David Moore

                                                                                                                                                                  [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98927   37796     L4141 (11) Teleconferencing Units                               $213.00     $0.00     $213.00       $21.30       $253.63   Darren Melton

                                                                                                                                                                    [z0sense]            (214)228-5864 darrenmelton@tx.rr.com
          98928   37789     L4142 Misc Power Supplies & Battery Backups                     $161.66     $0.00     $161.66       $16.17       $177.83   David Moore

                                                                                                                                                                  [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98929   37803     L4143 Misc Audio Equipment                                      $75.00      $0.00     $75.00        $7.50        $82.50    Shirley Shaddock

                                                                                                                                                                       [whcclinic]       (903)729-3015 whcclinic@yahoo.com
          98930   37805     L4144 (3) Projection Screens                                    $37.50      $0.00     $37.50        $3.75        $44.65    Mark Turner

                                                                                                                                                                  [mpturner21]           (469)667-8447 mark@gotoitguy.net
          98931   37811     L4145 Misc Metal Storage Units                                  $140.55     $0.00     $140.55       $14.06       $167.36   Christine Giese

                                                                                                                                                                      [Chris0531]        (979)830-5252 christine@bencor-llc.com
          98932   37789     L4146 (1) ELP55 Pallet Jack                                     $155.00     $0.00     $155.00       $15.50       $170.50   David Moore

                                                                                                                                                                  [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98933   37810     L4147 (14) Misc Trash Bins                                      $67.00      $0.00     $67.00        $6.70        $73.70    Scott Beene

                                                                                                                                                                  [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          98934   37789     L4148 (8) Metro Style Racks                                     $432.00     $0.00     $432.00       $43.20       $475.20   David Moore

                                                                                                                                                                  [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98935   37810     L4149 (10) Folding Tables                                       $106.78     $0.00     $106.78       $10.68       $117.46   Scott Beene

                                                                                                                                                                  [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          98936   37839     L4150 Approx (9920) Segue S23393 Mini-USB Cables                $986.00     $0.00     $986.00       $98.60   $1,174.08     Xin Peng

                                                                                                                                                               [ted662000]               (409)209-9088 pengxin662000@yahoo.com
          98937   37829     L4151 Approx (2200) Segue S23394 VGA Cables                     $186.00     $0.00     $186.00       $18.60       $204.60   Martin Vaz

                                                                                                                                                                 [ronaldo]               (972)997-6539 martinvazquez.c@hotmail.com
          98938   37840     L4152 (4) Metro Racks                                           $170.00     $0.00     $170.00       $17.00       $202.43   Donna Blair

                                                                                                                                                                  [donnam860]            (254)466-3801 donnablair2206@yahoo.com
          98939   37841     L4153 (14) Steel Shelving Racks                                 $921.00     $0.00     $921.00       $92.10   $1,096.68     Michael Reilly

                                                                                                                                                                     [artifacture]       (972)292-8453 michael@artifacturestudios.com
          98940   37842     L4154 (1) Keller 8' Fiberglass Ladder                           $80.42      $0.00     $80.42        $8.04        $95.76    Scott Beene

                                                                                                                                                                  [sbeene]               (903)286-2380 sbeene@etex.net
          98942   37789     L4156 (4) Banks of Small Parts Organizational Bins              $627.00     $0.00     $627.00       $62.70       $689.70   David Moore

                                                                                                                                                                  [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98943   37799     L4157 (5) Metal Filing Cabinets                                 $107.50     $0.00     $107.50       $10.75       $128.01   Brian Beard

                                                                                                                                                                  [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98944   37819     L4158 (1) Flammable Liquids Cabinet                             $102.50     $0.00     $102.50       $10.25       $122.05   Sanjay Naik

                                                                                                                                                                  [snaik]                (214)596-1500.2sanjay@eurekatextiles.com
          98945   37811     L4159 (3) Workstations                                          $375.50     $0.00     $375.50       $37.55       $447.13   Christine Giese

                                                                                                                                                                      [Chris0531]        (979)830-5252 christine@bencor-llc.com
          98946   37843     L4160 (1) Safety Mate Emergency Information Device              $32.50      $0.00     $32.50        $3.25        $38.70    Steven Mounce

                                                                                                                                                                    [skmounce]           (972)754-5522 Steve@Mounce.net
          98947   37789     L4161 (4) Shipping Scales                                       $155.00     $0.00     $155.00       $15.50       $170.50   David Moore

                                                                                                                                                                  [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98948   37814     L4162 (1) Wesley Pallet Mule Pallet Jack                        $126.00     $0.00     $126.00       $12.60       $150.03   Rick Miller

                                                                                                                                                                  [ss6290]               (817)279-2100 muleride@yahoo.com
          98949   37844     L4163 (1) Handi Tough Tes 18V Jigsaw                            $30.00      $0.00     $30.00        $3.00        $35.72    Steve Lewis

                                                                                                                                                                  [slewis]               (214)735-9039 sel@lbpcglobal.com
          98950   37816     L4164 (15) Extension Cords                                      $80.00      $0.00     $80.00        $8.00        $95.26    Ken Connolly

                                                                                                                                                                   [Kenconnolly]         (214)906-3824 Kenconnolly1@me.Com
          98951   37819     L4165 (2) Workstations                                          $221.00     $0.00     $221.00       $22.10       $263.16   Sanjay Naik

                                                                                                                                                                  [snaik]                (214)596-1500.2sanjay@eurekatextiles.com
          98952   37845     L4166 Misc Carts                                                $185.00     $0.00     $185.00       $18.50       $220.29   timothy goodwin

                                                                                                                                                                      [tgoodie]          (972)523-9452 tgoodie10@yahoo.com
          98953   37830     L4167 (80) iPhase 6' HDMI Cables                                $65.00      $0.00     $65.00        $6.50        $77.40    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98954   37830     L4168 (80) iPhase 6' HDMI Cables                                $65.00      $0.00     $65.00        $6.50        $77.40    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98955   37830     L4169 (80) iPhase 6' HDMI Cables                                $61.99      $0.00     $61.99        $6.20        $73.81    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98956   37846     L4170 (80) iPhase 6' HDMI Cables                                $61.00      $0.00     $61.00        $6.10        $67.10    Marshall Holland

                                                                                                                                                                       [CUParadise]      (972)226-2632 marshall@tech-away.com
          98957   37799     L4171 (80) iPhase 6' HDMI Cables                                $88.01      $0.00     $88.01        $8.80        $104.80   Brian Beard

                                                                                                                                                                  [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98958   37847     L4172 (80) iPhase 6' HDMI Cables                                $66.00      $0.00     $66.00        $6.60        $78.59    RIchard Malouf

                                                                                                                                                                     [yallahletsdoit]    (214)253-2402 malouf@swbell.net
          98959   37847     L4173 (80) iPhase 6' HDMI Cables                                $66.00      $0.00     $66.00        $6.60        $78.59    RIchard Malouf

                                                                                                                                                                     [yallahletsdoit]    (214)253-2402 malouf@swbell.net
          98960   37830     L4174 (80) iPhase 6' HDMI Cables                                $52.00      $0.00      $52.00       $5.20        $61.92    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98961   37799     L4175 (80) iPhase 6' HDMI Cables                                $88.01      $0.00      $88.01       $8.80        $104.80   Brian Beard

                                                                                                                                                                  [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98962   37799     L4176 (80) iPhase 6' HDMI Cables                                $73.00      $0.00      $73.00       $7.30        $86.92    Brian Beard

                                                                                                                                                                  [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98963   37787     L4177 (80) iPhase 6' HDMI Cables                                $66.00      $0.00     $66.00        $6.60        $78.59    Tiann Bagwell

                                                                                                                                                                    [Blueeyes381]        (915)202-5997 Tiann381@gmail.com
          98964   37846     L4178 (80) iPhase 6' HDMI Cables                                $52.00      $0.00     $52.00        $5.20        $57.20    Marshall Holland

                                                                                                                                                                       [CUParadise]      (972)226-2632 marshall@tech-away.com



                                                                                                                  Exhibit "A"
Item ID           Invoice   Lot #   Title                                                    Price     Comm.        Net          BP           Total               High Bidder             H.B. Phone             H.B. Email
                                                                      Case 15-41732    Doc 67   Filed 01/29/16   Entered 01/29/16 08:53:28     Desc Main Document               Page 7 of 10
          98965   37846     L4179 (80) iPhase 6' HDMI Cables                                $42.50      $0.00     $42.50        $4.25        $46.75    Marshall Holland

                                                                                                                                                                       [CUParadise]      (972)226-2632 marshall@tech-away.com
          98966   37846     L4180 (80) iPhase 6' HDMI Cables                                $51.95      $0.00     $51.95        $5.20        $57.15    Marshall Holland

                                                                                                                                                                       [CUParadise]      (972)226-2632 marshall@tech-away.com
          98967   37787     L4181 (80) iPhase 6' HDMI Cables                                $49.50      $0.00     $49.50        $4.95        $58.94    Tiann Bagwell

                                                                                                                                                                    [Blueeyes381]        (915)202-5997 Tiann381@gmail.com
          98968   37799     L4182 (80) iPhase 6' HDMI Cables                                $49.50      $0.00     $49.50        $4.95        $58.94    Brian Beard

                                                                                                                                                                  [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98969   37830     L4183 (80) iPhase 6' HDMI Cables                                $49.50      $0.00     $49.50        $4.95        $58.94    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98970   37830     L4184 (80) iPhase 6' HDMI Cables                                $42.50      $0.00     $42.50        $4.25        $50.61    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98971   37787     L4185 (80) iPhase 6' HDMI Cables                                $80.00      $0.00      $80.00       $8.00        $95.26    Tiann Bagwell

                                                                                                                                                                    [Blueeyes381]        (915)202-5997 Tiann381@gmail.com
          98972   37830     L4186 (80) iPhase 6' HDMI Cables                                $46.50      $0.00      $46.50       $4.65        $55.37    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98973   37789     L4187 (80) iPhase 6' HDMI Cables                                $46.50      $0.00      $46.50       $4.65        $51.15    David Moore

                                                                                                                                                                  [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98974   37846     L4188 (80) iPhase 6' HDMI Cables                                $30.00      $0.00      $30.00       $3.00        $33.00    Marshall Holland

                                                                                                                                                                       [CUParadise]      (972)226-2632 marshall@tech-away.com
          98975   37830     L4189 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $61.99      $0.00     $61.99        $6.20        $73.81    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98976   37846     L4190 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $56.09      $0.00     $56.09        $5.61        $61.70    Marshall Holland

                                                                                                                                                                       [CUParadise]      (972)226-2632 marshall@tech-away.com
          98977   37787     L4191 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $75.06      $0.00     $75.06        $7.51        $89.38    Tiann Bagwell

                                                                                                                                                                    [Blueeyes381]        (915)202-5997 Tiann381@gmail.com
          98978   37787     L4192 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $60.00      $0.00     $60.00        $6.00        $71.45    Tiann Bagwell

                                                                                                                                                                    [Blueeyes381]        (915)202-5997 Tiann381@gmail.com
          98979   37848     L4193 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $60.00      $0.00     $60.00        $6.00        $71.45    Ray Wanza

                                                                                                                                                                [rbwanza]                (214)243-0266 rbwanza@sbcglobal.net
          98980   37830     L4194 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $47.50      $0.00     $47.50        $4.75        $56.56    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98981   37830     L4195 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $71.00      $0.00      $71.00       $7.10        $84.54    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98982   37846     L4196 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $55.00      $0.00      $55.00       $5.50        $60.50    Marshall Holland

                                                                                                                                                                       [CUParadise]      (972)226-2632 marshall@tech-away.com
          98983   37787     L4197 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $75.06      $0.00      $75.06       $7.51        $89.38    Tiann Bagwell

                                                                                                                                                                    [Blueeyes381]        (915)202-5997 Tiann381@gmail.com
          98984   37846     L4198 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $55.92      $0.00      $55.92       $5.59        $61.51    Marshall Holland

                                                                                                                                                                       [CUParadise]      (972)226-2632 marshall@tech-away.com
          98985   37830     L4199 Approx (200)+ Phihong USB A/C Travel Wall Chargers        $52.50      $0.00      $52.50       $5.25        $62.51    brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98986   37830     L4200 Approx (1500) Segue Mini-USB Adaptors                     $211.00     $0.00     $211.00       $21.10       $251.25   brian beaird

                                                                                                                                                                   [bnbeaird@yahoo.]     (903)316-1404 bnbeaird@yahoo.com
          98987   37849     L4201 Vinyl Pallet Banding Equipment                            $178.75     $0.00     $178.75       $17.88       $212.85   Robert Bollinger

                                                                                                                                                                       [NukesRGreen]     (817)831-1000 RABollinger@Micro-Waste.com
          98988   37799     L4202 (4) Rolling Office Chairs                                 $115.05     $0.00     $115.05       $11.51       $137.00   Brian Beard

                                                                                                                                                                  [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98989   37799     L4203 (2) Wooden Upholstered Chairs                             $51.50      $0.00     $51.50        $5.15        $61.32    Brian Beard

                                                                                                                                                                  [NorTex OFG]           (817)834-8000 nortexofg@att.net
          98990   37814     L4204 (2) Wooden Upholstered Chairs                             $44.00      $0.00     $44.00        $4.40        $52.39    Rick Miller

                                                                                                                                                                  [ss6290]               (817)279-2100 muleride@yahoo.com
          98991   37814     L4205 (2) Wooden Upholstered Chairs                             $38.05      $0.00     $38.05        $3.81        $45.31    Rick Miller

                                                                                                                                                                  [ss6290]               (817)279-2100 muleride@yahoo.com
          98992   37814     L4206 (2) Wooden Upholstered Chairs                             $65.00      $0.00     $65.00        $6.50        $77.40    Rick Miller

                                                                                                                                                                  [ss6290]               (817)279-2100 muleride@yahoo.com
          98993   37814     L4207 (2) Wooden Upholstered Chairs                             $30.00      $0.00     $30.00        $3.00        $35.72    Rick Miller

                                                                                                                                                                  [ss6290]               (817)279-2100 muleride@yahoo.com
          98995   37819     L4209 (4) Rolling Metro Style Racks                             $325.00     $0.00     $325.00       $32.50       $386.99   Sanjay Naik

                                                                                                                                                                  [snaik]                (214)596-1500.2sanjay@eurekatextiles.com
          98996   37810     L4210 Approx (70) Misc Trash Bins                               $157.00     $0.00     $157.00       $15.70       $172.70   Scott Beene

                                                                                                                                                                  [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          98997   37789     L4211 (2) Ergotron Workstations                                 $394.00     $0.00     $394.00       $39.40       $433.40   David Moore

                                                                                                                                                                  [dmoore.com]           (832)500-3180 dmoore@dmoore.com
          98998   37819     L4212 (4) Metro Style Racks                                     $270.00     $0.00     $270.00       $27.00       $321.50   Sanjay Naik

                                                                                                                                                                  [snaik]                (214)596-1500.2sanjay@eurekatextiles.com
          98999   37787     L4213 Shipping Supplies                                         $300.00     $0.00     $300.00       $30.00       $357.23   Tiann Bagwell

                                                                                                                                                                    [Blueeyes381]        (915)202-5997 Tiann381@gmail.com
          99000   37807     L4214 (3) Workstations                                          $260.00     $0.00     $260.00       $26.00       $309.60   A. C. Campbell

                                                                                                                                                                     [bluebell]          (281)509-3057 janiebug835@sbcglobal.net
          99001   37791     L4215 (1) Klein Tool Cart                                       $560.00     $0.00     $560.00       $56.00       $616.00   Will Rutledge

                                                                                                                                                                    [wksales]            (210)263-7548 wksales.sa@gmail.com
          99002   37810     L4216 Misc Power Tools                                          $135.00     $0.00     $135.00       $13.50       $148.50   Scott Beene

                                                                                                                                                                  [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          99003   37850     L4217 Misc Test Meters                                          $287.00     $0.00     $287.00       $28.70       $341.75   Paula Rosson

                                                                                                                                                                   [Pkrosson]            (903)918-5193 pkrosson@yahoo.com
          99004   37808     L4218 (2) Server Towers & (2) Server Racks                      $52.50      $0.00     $52.50        $5.25        $57.75    FRANK SAPORITO

                                                                                                                                                                     [fritomd]           (214)924-2787 frank.saporito.md@gmail.com
          99005   37812     L4219 (18) Misc Steel Shelving Units                            $506.00     $0.00     $506.00       $50.60       $556.60   Joseph Kwiatkowski

                                                                                                                                                                         [kwiatkowski]   (936)639-2114 josephkwiatkowski@yahoo.com
          99006   37787     L4220 Approx (50)+ Misc Computer Power Cords                    $37.50      $0.00     $37.50        $3.75        $44.65    Tiann Bagwell

                                                                                                                                                                    [Blueeyes381]        (915)202-5997 Tiann381@gmail.com
          99007   37810     L4221 (9) Floor Mats                                            $335.00     $0.00     $335.00       $33.50       $368.50   Scott Beene

                                                                                                                                                                  [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          99008   37810     L4222 (1) Rough Neck 4400LB Pallet Jack                         $200.00     $0.00     $200.00       $20.00       $220.00   Scott Beene

                                                                                                                                                                  [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          99009   37807     L4223 (5) Single Pedestal Tables                                $32.50      $0.00     $32.50        $3.25        $38.70    A. C. Campbell

                                                                                                                                                                     [bluebell]          (281)509-3057 janiebug835@sbcglobal.net
          99011   37807     L4225 (1) Charbroil QuickSet BBQ w/Propane Tank                 $30.00      $0.00     $30.00        $3.00        $35.72    A. C. Campbell

                                                                                                                                                                     [bluebell]          (281)509-3057 janiebug835@sbcglobal.net
          99013   37825     L4227 (1) Fire King Fireproof Cabinet                           $490.00     $0.00     $490.00       $49.00       $583.47   Moe Knight

                                                                                                                                                                 [mrknight3]             (903)893-0144.2mknight@hoytedodge.com
          99014   37810     L4228 (1) Fire King Fireproof Cabinet                           $695.00     $0.00     $695.00       $69.50       $764.50   Scott Beene

                                                                                                                                                                  [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          99015   37810     L4229 (1) Fire King Fireproof Cabinet                           $670.00     $0.00     $670.00       $67.00       $737.00   Scott Beene

                                                                                                                                                                  [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          99016   37810     L4230 (1) HON Fireproof Cabinet                                 $225.55     $0.00     $225.55       $22.56       $248.11   Scott Beene

                                                                                                                                                                  [bigsandyisd]          (903)636-5318 sbeene@bigsandyisd.org
          99017   37795     L4241 First Aid Equipment                                       $136.23     $0.00     $136.23       $13.62       $162.22   michael vaughan

                                                                                                                                                                      [blockmaker]       (214)202-0708 blockmakeroo@gmail.com
          99018   37807     L4242 (17) Misc Fans                                            $48.00      $0.00     $48.00        $4.80        $57.16    A. C. Campbell

                                                                                                                                                                     [bluebell]          (281)509-3057 janiebug835@sbcglobal.net



                                                                                                                  Exhibit "A"
Item ID           Invoice   Lot #   Title                                                             Price     Comm.        Net           BP          Total                High Bidder              H.B. Phone             H.B. Email
                                                                      Case 15-41732             Doc 67   Filed 01/29/16   Entered 01/29/16 08:53:28     Desc Main Document                 Page 8 of 10
          99019   37851     L4243 (19) Misc Toolboxes                                                $77.00      $0.00      $77.00        $7.70       $91.69    ricky fisher

                                                                                                                                                                            [rcgeneral]             (903)662-5231 rcgeneral2000@yahoo.com
          99020   37791     L4244 Misc Tools                                                         $610.00     $0.00      $610.00       $61.00      $671.00   Will Rutledge

                                                                                                                                                                             [wksales]              (210)263-7548 wksales.sa@gmail.com
          99021   37845     L4245 (11) Misc Carts                                                    $402.00     $0.00      $402.00       $40.20      $478.68   timothy goodwin

                                                                                                                                                                               [tgoodie]            (972)523-9452 tgoodie10@yahoo.com
          99022   37852     L4246 (1) Microsoft Surface Tablet                                       $160.00     $0.00      $160.00       $16.00      $190.52   David Asemota

                                                                                                                                                                             [drdavidsicool]        (214)606-5751 doasemota45@netmail.dcccd.edu
          99023   37812     L4247 (1) Aluminum Dock Plate                                            $170.00     $0.00      $170.00       $17.00      $187.00   Joseph Kwiatkowski

                                                                                                                                                                                  [kwiatkowski]     (936)639-2114 josephkwiatkowski@yahoo.com
          99024   37853     L4248 (1) APC Rack Air Removal Cooling System                            $35.50      $0.00      $35.50        $3.55       $42.27    Dennis Miller

                                                                                                                                                                             [dmiller662]           (972)998-4655 thunderaudiollc@aol.com
          99025   37852     L4250 (1) Framed Print 43" x 46"                                         $40.05      $0.00      $40.05        $4.01       $47.69    David Asemota

                                                                                                                                                                             [drdavidsicool]        (214)606-5751 doasemota45@netmail.dcccd.edu
          99026   37852     L4251 (1) Framed Print 40" x 59.5"                                       $44.05      $0.00      $44.05        $4.41       $52.45    David Asemota

                                                                                                                                                                             [drdavidsicool]        (214)606-5751 doasemota45@netmail.dcccd.edu
          99027   37787     L4252 (30) Assorted Frames                                               $30.00      $0.00      $30.00        $3.00       $35.72    Tiann Bagwell

                                                                                                                                                                             [Blueeyes381]          (915)202-5997 Tiann381@gmail.com
          99028   37853     L4253 (3) Assorted Shelves                                               $56.23      $0.00      $56.23        $5.62       $66.96    Dennis Miller

                                                                                                                                                                             [dmiller662]           (972)998-4655 thunderaudiollc@aol.com
          99029   37834     L4255 (12) Assorted Whiteboards                                          $147.00     $0.00      $147.00       $14.70      $175.04   Carlos Villalobos

                                                                                                                                                                                 [cbvilla6]         (469)766-4870 cbvilla6@hotmail.com
          99030   37799     L4256 (1) Framed Print 45" x 45"                                         $35.55      $0.00      $35.55        $3.56       $42.33    Brian Beard

                                                                                                                                                                           [NorTex OFG]             (817)834-8000 nortexofg@att.net
          99529   37864     L4224 (1) Picnic Table                                                   $10.00      $0.00      $10.00        $1.00       $11.91    fadya risheq

                                                                                                                                                                            [me2015]                (817)219-6633 fadya2012@gmail.com
          99530   37865     L4208 (2) Wooden Upholstered Chairs                                      $13.50      $0.00      $13.50        $1.35       $16.08    Stephen Seigler

                                                                                                                                                                               [stephenseigler]     (817)391-2229 seigler.stephen@gmail.com
          99828   37887     L4089 Dining Room Set                                                    $175.00     $0.00      $175.00       $17.50      $208.38   David Sanchez

                                                                                                                                                                             [DSanchez]             (512)921-6473 cpap40@yahoo.com
          99863   38126     L4031 16' Conference Table                                               $301.00     $0.00      $301.00       $30.10      $358.42   TINH TIEU

                                                                                                                                                                         [tinhtieu55]               (214)564-3862 tinhtieu55@yahoo.com
          99864   37909     L4085 (1) Rolling Ergotron Workstation                                   $84.00      $0.00      $84.00        $8.40       $100.02   David Sanchez

                                                                                                                                                                             [DSanchez]             (512)921-6473 cpap40@yahoo.com
          99964   38127     L4378 Large Lot of Assorted Server Room Equipment                       $1,801.00    $0.00     $1,801.00    $180.10     $1,981.10   Marshall Holland

                                                                                                                                                                                [CUParadise]        (972)226-2632 marshall@tech-away.com
          99965   38128     L4379 (1) HON Fire Rated File Cabinet                                    $30.00      $0.00      $30.00        $3.00       $35.72    ricky fisher

                                                                                                                                                                            [rcgeneral]             (903)662-5231 rcgeneral2000@yahoo.com
          99966   38129     L4380 (2) Digital Sprite 2 Surveillance DVR's by Dedicated Micros        $85.00      $0.00      $85.00        $8.50       $101.21   Jave Blackburn

                                                                                                                                                                              [javes1]              (469)571-8263 javoliver1@gmail.com
          99967   38126     L4381 (32) Assorted File Cabinets                                        $267.00     $0.00      $267.00       $26.70      $317.93   TINH TIEU

                                                                                                                                                                         [tinhtieu55]               (214)564-3862 tinhtieu55@yahoo.com
          99970   38130     L4249 (2) Linen Carts                                                    $32.50      $0.00      $32.50        $3.25       $38.70    Tom Shaffer

                                                                                                                                                                           [tomshaffer]             (512)252-1664 tomshaffer@sbcglobal.net
          99971   38131     L4184 Assorted Cables                                                    $180.00     $0.00      $180.00       $18.00      $214.34   Ray Wanza

                                                                                                                                                                         [rbwanza]                  (214)243-0266 rbwanza@sbcglobal.net
          99972   38132     L3233 Assorted A/V Stands/Mounts                                         $40.50      $0.00      $40.50        $4.05       $48.23    Mark Turner

                                                                                                                                                                           [mpturner21]             (469)667-8447 mark@gotoitguy.net
          99974   38126     L3235 (5) Metal Racks                                                    $65.00      $0.00      $65.00        $6.50       $77.40    TINH TIEU

                                                                                                                                                                         [tinhtieu55]               (214)564-3862 tinhtieu55@yahoo.com
          99975   38126     L3236 Assorted Whiteboards and Office Mats                               $205.00     $0.00      $205.00       $20.50      $244.10   TINH TIEU

                                                                                                                                                                         [tinhtieu55]               (214)564-3862 tinhtieu55@yahoo.com
          99976   38126     L3237 (1) Wall Mounted Projector Screen / Whiteboard                     $30.00      $0.00      $30.00        $3.00       $35.72    TINH TIEU

                                                                                                                                                                         [tinhtieu55]               (214)564-3862 tinhtieu55@yahoo.com
          99977   38126     L3238 (1) Wooden Table Approximately 72" x 72"                           $30.00      $0.00      $30.00        $3.00       $35.72    TINH TIEU

                                                                                                                                                                         [tinhtieu55]               (214)564-3862 tinhtieu55@yahoo.com
          99978   38133     L3239 Assorted Furniture                                                 $106.00     $0.00      $106.00       $10.60      $116.60   charles harrell

                                                                                                                                                                               [phishin]            (817)487-6448 charles@robinhoodoffice.com
          99980   38130     L4155 (3) Column Sentry Column Protectors                                $10.00      $0.00      $10.00        $1.00       $11.91    Tom Shaffer

                                                                                                                                                                           [tomshaffer]             (512)252-1664 tomshaffer@sbcglobal.net
                                    Totals                                                        $62,659.67    $0.00     $62,659.67   $6,265.97   $72,436.90


                                                                         Total Auction Sales       $62,659.67



                                                         Total BP Retained by Auctioneer            $6,265.97


Shattuck LLC.
650 Canion St
Austin, TX 78752
(512)482-0270 (800)999-6852 (fax) (512)478-4888
info@shattuck.com
www.shattuck.com




                                                                                                                            Exhibit "A"
                                                       Case 15-41732    Doc 67    Filed 01/29/16   Entered 01/29/16 08:53:28   Desc Main Document     Page 9 of 10



Interphase Corporation
c/o Mark Weisbart, Trustee
4240 International Pkwy Suite 105
Carrollton, Texas 75007


Bankruptcy Direct Sale Report Case No. 15-41732
Item ID           Invoice   Lot #   Title                                                Price          Fee       Total Paid             Buyer              H.B. Phone           H.B. Email
          99517      -      MW1 Approx. 4,073 Anydata DTW-200-D Wireless Module C     $89,606.00     $2,036.50    $91,642.50 Buchanan Ingersoll & Rooney P412.562.8432 christopher.schueller@bipic.com
                                                                          Totals      $89,606.00      $2,036.50   $91,642.50


                                                                 Total Direct Sales   $89,606.00


                                                  Total Fee Retained by Auctioneer     $2,036.50




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              Case 15-41732   Doc 67   Filed 01/29/16   Entered 01/29/16 08:53:28   Desc Main Document    Page 10 of 10



                                           Addendum #1

                                Expense Detail for Interphase, Corp.,
                                        Case No.15-41732

Merchant Services
                                                               Total Proceeds Collected:       $    160,919.40
                                                                Checks/Cash Collected:         $    (91,742.72)
Total MS Trans                                                                                 $     69,176.68
Total MS fees (2.5%)                                                                           $      1,729.42

Labor
                                                       Interphase Prep & Set Up $                        4,900.50
                                                              Interphase Preview $                         150.00
                              Interphase Check Out, Removal and Facility Clean Up $                      2,640.00
Total Labor                                                                       $                      7,690.50

Advertising/Marketing
                                                                        AuctionZIP posting $               10.00
Total Advertising                                                                          $               10.00


Moving & Off-Site Storage
                                                     Prep & MovingLocation to Storage          $         1,297.50
                                                        Prep & Moving Files to Storage         $           696.00
                                                 Offsite Warehouse Storage November            $           660.00
                                                 Offsite Warehouse Storage December            $           660.00
                                                   Offsite Warehouse Storage January           $           660.00
Total Moving & Storage                                                                         $         3,973.50


                                                                                               $     13,403.42




                                                         Exhibit "B"
